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INFORMATION CASE NO: 2016701847
36TH DISTRICT COURT DETROIT FELONY

3rd_Judicial Circuit

The People of the State of Michigan

VS
JOEL CASTRO 82-16701847-01

Offense Information
Police Agency / Report No.
82DPNA 1601270127

Date of Offense

01/27/2016 wd

Place of Offense

5437 & 5441 Springwells, DETROIT
Complainant or Victim

P.O. HURD,P.O. GALLOWAY
Complaining Witness

P.O. HURD,P.O. GALLOWAY

STATE OF MICHIGAN, COUNTY OF Wayne
IN THE NAME OF THE PEOPLE OF THE STATE OF MICHIGAN: The prosecuting attorney for this county appears before
the court and informs the court that on the date and at the location described above, the Defendant(s):

COUNT 1: CONTROLLED SUBSTANCE - DELIVERY/MANUFACTURE MARIJUANA

did possess with intent to deliver the controlled substance marijuana; contrary to MCL; 333.7401(2)(d)(iii). [333.74012D3]
FELONY: 4 Years and/or $20,000.00. Unless sentenced to more than 1 year in prison, the court shall impose license
sanctions pursuant to MCL 333.7408a.

COUNT 2: CONTROLLED SUBSTANCE - DELIVERY/MANUFACTURE 5-45 KILOGRAMS OF MARIJUANA
did possess with the intent to deliver 20 marijuana plants or more, but less than 200 plants; contrary to MCL 333.7401 (2)(d)(ii).

[333.74012D11]
FELONY: 7 Years and/or $500,000.00. Unless sentenced to more than 1 year in prison, the court shall impose license

sanctions pursuant to MCL 333.7408a.

HABITUAL OFFENDER - SECOND OFFENSE NOTICE
Take notice that the defendant was previously convicted of a felony or an attempt to commit a felony in that on or about
11/03/15, he or she was convicted of the offense of unlawful use of an auto in violation of 750.414 in the Circuit Court, case

#15-1682 for Wayne County, State of Michigan;
Therefore, defendant is subject to the penalties provided by MCL 769.10. [769.10]
One and one-half times the maximum sentence on primary offense or a lesser term. The maximum penalty cannot be less than

the maximum term for a first conviction.

Upon conviction of a felony or an attempted felony court shall order law enforcement to collect DNA identification profiling
samples.

and against the peace and dignity of the State of Michigan.
Kym Worthy

P38875
Prosecuting Attorney

01/28/2016 By:
Date Bar Number

 
